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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

UNITED STATES OF AMERICA


               Plaintiff,                              CRIMINAL ACTION: 05-80050-16

v.                                                     HONORABLE PAUL D. BORMAN

16-SHANNON JOHNSON,

               Defendant(s).

                                         /


                            AMENDED TRIAL NOTICE/PLEA CUT-OFF

     A Pretrial Conference/Plea cut-off is scheduled for September 24, 2007 at 3:45 p.m.

                        Trial shall begin on October 2, 2007 at 9:00 a.m.


                STANDING ORDER FOR DISCOVERY AND INSPECTION AND
                     FIXING MOTION CUT-OFF IN CRIMINAL CASES

       This Order is entered in order to eliminate unnecessary discovery motions and expedite the
presentation of evidence and the examination of witnesses.

        1. CONFERENCE AND DISCLOSURE: Within ten (10) days from the date of arraignment,
or such other date as may be set by the court, government and defense counsel shall meet and
confer for the purpose of resolving or minimizing the issues in controversy. Upon the request of
defense counsel, the government counsel shall:

              (a) provide defense counsel with the information which a has been described in
Federal Rule of Criminal Procedure 16(a)(1),

                 (b) permit defense counsel to inspect, copy or photography any
exculpatory\impeachment evidence within the meaning of Brady v. Maryland, 373 U.S. 83 (1963),
United States v. Agurs, 427 U.S. 97 (1976), and Giglio v. United States, 405 U.S. 150 (1972). A
list of the items of evidence shall be signed by all counsel. Copies of those items, which have been
disclosed, shall be initialed or otherwise marked. Nothing herein shall be construed as requiring
the disclosure of Jencks Act material prior to the time that its disclosure is required by law.

       2. DISCLOSURE DECLINED: If, in the judgment of government counsel, it would be
detrimental to the interests of justice to make any of those disclosures set forth in paragraph 1, such
disclosure may be declined; any such declination shall be confirmed in writing, with a copy provided

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to the Court. Any defendant who seeks to challenge the declination shall move for relief forthwith.

       3. CONTINUING DUTY: The duty of disclosure and discovery described in this order, is
continuing.

       4. DISCOVERY BY THE GOVERNMENT: This order is not designed to preclude discovery
by the government under Rule 16(b) of the Federal Rules of Criminal Procedure.

        5. EXHIBITS:

                (a) Pre-Marking and Listing of Exhibits: Each party who intends to offer exhibits
shall mark the exhibits with labels prior to commencement of trial. Each party shall thereafter
prepare a typed list of the proposed exhibits for submission to the court three (3) business days
prior to the commencement of trial. Exhibits should be designated by numbers or letters in a logical
basis. The listing should reflect the proposed exhibit number or letter, and a brief description of the
exhibit. The proposed exhibits must be examined by the opposite party at a reasonable time in
advance of trial.

             (b) Foundation for Exhibits: When defense counsel has inspected an exhibit which
the government intends to introduce in evidence, the foundation for its receipt into evidence will be
deemed established unless defense counsel files a notice with the court not less than three (3)
business days prior to trial that the foundation for admission into evidence of the exhibit will be
contested.

                (c) Objections to Exhibits: This order shall not affect the right of a defendant to
object to the introduction of an exhibit on a basis other than that of foundation.

        6. CHAIN OF CUSTODY: When defense counsel has inspected a proposed government
exhibit and/or reviewed government documents or records, the chain of custody will be deemed to
be uncontested unless the defendant files a notice with the court that the chain will be contested
not less than three (3) business days prior to trial.

        7. SCIENTIFIC ANALYSIS: When a defendant has been made aware of the existence of
the scientific analysis of an exhibit, the results of the analysis and the opinion of the scientist will
be admitted into evidence unless the defendant files a notice with the court not less than five (5)
business days prior to trial that the scientific analysis of the exhibit will be contested.

       8. VOIR DIRE: The parties shall submit proposed voir dire questions in duplicate three (3)
business days prior to the beginning of the trial.


        9. JURY INSTRUCTIONS: The parties shall submit requested jury instructions in duplicate
at the beginning of trial.

       10. MOTION CUT-OFF DATE: All pretrial motions shall be filed within twenty (20) days
from date of arraignment of the defendant.




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                                           s/Paul D. Borman
                                           PAUL D. BORMAN
                                           UNITED STATES DISTRICT JUDGE

Dated: September 19, 2007

                                 CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record by electronic means or U.S. Mail on
September 19, 2007.


                                           s/Denise Goodine
                                           Case Manager




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